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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11
12 LUCAS R., et al.,                          Case No. 2:18-CV-05741 DMG PLA
13                  Plaintiffs,
                                              ORDER APPROVING JOINT
14         v.                                 STIPULATION AND REQUEST TO
                                              MODIFY SCHEDULE OF PRETRIAL AND
15   ALEX AZAR, et al.,                       TRIAL DATES [219]
16                  Defendants.
17
18
           Having read and considered the Parties’ Joint Stipulation and Request Regarding
19
      Schedule of Pretrial and Trial Dates, and for good cause appearing, the Court hereby
20
      APPROVES the Stipulation and adopts the following stipulated case schedule:
21
                                       Schedule
22
                       Matter                     Existing Date        Proposed New
23                                                                         Date
24    TRIAL [ x ] Court [ ] Jury                 10-20-20 at 9:30
                                                      p.m.          1-19-21 at 9:30 a.m.
25    Duration Estimate: 6 Weeks

26    FINAL PRETRIAL CONFERENCE
      (FPTC)                                    9-22-20 at 2 p.m.    12-22-20 at 2 p.m.
27    4 wks before trial
28
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 1                     Matter                       Existing Date       New Date
 2
      Amended Pleadings and Addition of           5-17-19           Completed
 3    Parties Cut-Off (includes hearing of
      motions to amend)
 4    Early Mediation Deadline                    8-5-19            Completed
 5    Joint Report re Results of Early            8-19-19
      Mediation
 6
      Non-Expert Discovery Cut-Off                3-13-20           3-13-20
 7
      (includes hearing of discovery motions)
 8    Initial Expert Disclosure & Report          3-27-20           5-22-20
 9    Deadline

10    Rebuttal Expert Disclosure & Report         5-22-20           7-17-20
      Deadline
11    Expert Discovery Cut-Off (includes          6-19-20           8-14-20
      hearing of discovery motions)
12
      Settlement Conference Completion Date 6-19-20                 9-18-20
13
      Joint Status Report re Settlement           6-26-20           9-25-20
14
      Motion Cut-Off (filing deadline)            7-3-20            9-18-20
15
      Last hearing date for dispositive           8-14-20 at 2pm    10-23-20 at 2pm
16    motions

17    Motions in Limine Filing Deadline           8-28-20           11-6-20
18    Opposition in Motion in Limine Filing       9-11-20           11-20-20
      Deadline
19
20
      Proposed Pretrial Conference Order          9-11-20           12-11-20
21
      Pretrial Exhibit Stipulation                9-11-20           12-11-20
22
      Joint Exhibit List                          9-11-20           12-11-20
23
      Witness Lists & Joint Trial Witness         9-11-20           12-11-20
24    Time Estimate Form
25    Witness Declarations or Marked              9-22-20           12-22-20
      Depositions
26
      Objections to Witness                       10-6-20           1-5-21
27    Declarations/Marked Depositions

28    Proposed Findings of Fact and               9-22-20           12-22-20

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 1                    Matter                   Existing Date        New Date
 2    Conclusions of Law
 3    Mark Up of Opponent’s Proposed         10-6-20           1-5-21
      Findings/Conclusions
 4
 5
           IT IS SO ORDERED.
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 7
     DATED: March 10, 2020
 8
                                         DOLLY M. GEE
 9                                       UNITED STATES DISTRICT JUDGE
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